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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 WAYNE BALIGA, derivatively on behalf of
 LINK MOTION INC. (F/K/A NQ MOBILE INC.)

                               Plaintiff,
                -against-                              Civil Action No.: 1:18-cv-11642

 LINK MOTION INC. (F/K/A NQ MOBILE
 INC.), VINCENT WENYONG SHI, JIA LIAN,
 XIAO YU,                                              NOTICE OF MOTION FOR RELIEF
                                                       FROM ORDER DENYING IN PART
                               Defendants,             MOTION TO UNSEAL RECORDS
                -and-

 LINK MOTION INC. (F/K/A NQ MOBILE
 INC.),

 Nominal Defendant.


       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law filed

herewith, the citations to the record therein, the accompanying declaration of Michael James

Maloney, dated September 28, 2022, and upon all prior proceedings and filings in this action,

Defendants Vincent Wenyong Shi (“Dr. Shi”) and Link Motion Inc. f/k/a NQ Mobile Inc. (the

“Company”), by their undersigned counsel, will move this Court, located at the United States

Courthouse for the Southern District of New York, 500 Pearl Street, New York, New York, before

the Honorable Valerie Figueredo, United States District Judge, at a date and time to be determined

by the Court, for an Order granting the following relief:

       (1)     Relief, pursuant to Rule 60(b)(1), (2), and (6), from that part of the Order dated

August 22, 2022 (Dkt. No. 329), which denied the motion by Dr. Shi to unseal “Category 3

Documents” (as defined in Dkt. No. 329) concerning a note agreement between Robert W. Seiden,

the court-appointed receiver (the “Receiver”), and Lilin “Francis” Guo (“Guo”); and



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       (2)     Ordering that the Category 3 Documents be immediately unsealed and produced to

Dr. Shi and the Company; and

       (3)     granting such other and further relief as the Court deems just and proper;

       PLEASE TAKE FURTER NOTICE that, pursuant to Local Civil Rule 6.3, the time

periods for service of answering and reply memoranda, if any, shall be governed by Local Civil

Rule 6.1(a) or (b).

 Dated: New York, New York                          Respectfully submitted,
        September 28, 2022
                                                    FELICELLO LAW P.C.


                                                    By:    /s/ Michael James Maloney
                                                        Michael James Maloney
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                                                    f/k/a NQ Mobile Inc. and Vincent Wenyong
                                                    Shi




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